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                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO


         IN RE: ALEXIS RAMIREZ ROSADO                         CIVIL NO. 23-01428 MCF

                       Debtor                                         Chapter 11


               MOTION TO DISMISS AND OPPOSITION TO EXTEND THE STAY

 TO THE HONORABLE COURT:

          Comes now, BANCO POPULAR DE PUERTO RICO (“BPPR”), secured creditor,

 represented by the undersigned attorney who respectfully prays, and states as follows:

                                          I. Brief Introduction

          The present case is the ninth bankruptcy petition for Debtor, filed within the period of the

 bad faith presumption stated in 11 U.S.C § 362 (c) (3) (C) (I), and, as well as previous petitions, with

 the sole intention to stop a judicial sale process. Moreover, an active bankruptcy case, 19-06807

 EAG13, remains open for co-owner (her 6th bankruptcy petition), where an order lifting the stay in

 favor of Movant was entered at Docket 133 on July 12, 2021.

          A brief summary of the relevant facts of the case is mandatory in order to place the Court in

 a position to make justice and at the same time to send a clear message in this jurisdiction that the

 Courts will not tolerate “abusive bad faith filings ”; the bankruptcy relief is intended for the honest

 unfortunate individuals.

          A voluntarily filed chapter 11 petition is subject to dismissal under 11 U.S.C.A. § 1112 if

 “not filed in good faith.” In re Phoenix Piccadilly, Ltd., 849 F.2d 1393, 1394 (11th Cir. 1988). This good

 faith requirement is rooted in equity and intended to prevent abuse of the Chapter 11 process. Matter

 of Little Creek Dev. Co., 779 F.2d 1068 (5th Cir. 1986). “A good faith standard protects the

 jurisdictional integrity of the bankruptcy courts…”. The Court should examine, then, if the Chapter

 11 petition was filed “to delay or frustrate the legitimate efforts of secured creditors to enforce their

 rights.” In re Phoenix Piccadilly, supra. Without any doubt, as the facts will show, these case and prior
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 petitions, were filed to frustrate several foreclosure sales as part of BPPR’s legitimate efforts to

 enforce their rights over the Debtor’s property.

                                            II. The Facts

          1.    Debtor’s multiple filings are itemized as follows:

                Case Number Chapter             Date Filed      Status
                88-01487          Ch13          5/31/1988       5/15/1989 Terminated.
                Terminated in less than one year.
                89-01327          Ch13          4/05/1989       10/03/1989 Dismissed.
                Dismissed, for lack of payment and gross misrepresentation.
                90-06993          Ch13          12/26/1990      12/28/1995 Discharged.

                97-06819          Ch13          06/26/1997      11/10/1999 Dismissed.

                Filed less than 18 months from being discharged.

                09-04860           Ch13         06/15/2009      03/18/2010 Dismissed.

                Filed with joint debtor, dismissed.

                11-02825           Ch7          03/31/2011      04/28/2015 Discharged.

                CH7 filed with joint debtor, discharged, after reconsidering dismissal. Lift of Stay in
                favor of BPPR.

                17-01713           Ch13         03/14/2017      10/19/2020 Discharged.

                Filed less than 2 years from being previously discharged. The petition was filed to
                stop the Judicial Sale scheduled for 3/16/2017 (Exhibit 1), two (2) days before the
                scheduled judicial sale. Stay was lifted in favor of BPPR on 08/22/2017.

                22-01853           Ch13         06/29/2022      04/20/2023 Dismissed.

                Filed less than 2 years from being previously discharged. Judicial sale was scheduled
                for June 29, 2022 (Exhibit 2) and Debtor filed the petition on the same day.
                Dismissed on 11/8/2022 and reconsidered 12/06/2022. Stay was lifted in favor of
                BPPR on 1/31/2023. Dismissed on 4/20/2023.

                23-01428           Ch11         05/12/2023      -----

                Filed less than 30 days from the last dismissal, this Chapter 11 case was also filed to
                stop the judicial sale scheduled for the next working day, Monday, May 15, 2023
                (Exhibit 3).
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          2.     In summary, debtor’s bad faith is evidenced by: (i ) debtor’s extensive and impressive

 record of bankruptcy petitions, (ii) the constant filing of bankruptcy petitions just hours before the

 judicial sale are scheduled, (iii) his inability to get a confirmed Plan in the unsuccessful prior

 bankruptcy petition; (iv) having orders for lift of the stay in favor of BPPR in several prior

 bankruptcy petitions, (v) the time frame between petitions, being the last bankruptcy case dismissed

 less than 30 days prior to the filing of a new bankruptcy case.

          3.     BPPR is the creditor of a residential loan mortgage note ending in 5309 and related

 to Claim 1. The mortgage deed is duly registered and encumbers the property located at 28-17 Calle

 13, Urb. Santa Rosa, Bayamón, PR. See Proof of Claim 1.

          4.     Debtor in this case purchase the mortgaged property from the original borrowers in

 March, 2006. For more than SIXTEEN (16) years, the Debtor in this case has been living the

 property without making any payments to BPPR. SIXTEEN years has elapsed without receiving

 payments to the mortgage and over $18,000.00 in expenses for several legal procedures related to

 foreclosure and six (6) different bankruptcy proceedings, including the current active procedure

 related to co-owner Elsie Enid Berríos Salgado, case 19-06807-EAG13. See Claim 1.

          5.     If we consider, not only the extensive multiple filing, but that including the fact that

 the last three bankruptcy cases have been filed just hours prior to the scheduled judicial sale, is not

 difficult to understand that this Debtor is playing with the judicial system, which provides for a fresh

 start to the honest debtor.

          6.     Although we strongly believe in the opportunity of a fresh start, we can also ask

 ourselves, “but how many fresh starts does a debtor should have?” The Debtor in this case has three

 (3) previous discharges, including a Chapter 7 discharge; 2 of those discharges were ordered less

 than two years apart from a previous discharge. The other petitions have been dismissed for several

 reasons, including misrepresentation.
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          7.      The instant case was filed less than 30 days after the last dismissal; and just one

 working day prior to the scheduled judicial sale, evidence that the bankruptcy petition -no Plan has

 been filed yet- was filed in “bad faith”.

          8.      At the moment, the mortgage note related to debtor’s property has accrued 193

 monthly installments and other charges and fees, for a total amount of pre-petition arrears of

 $161,858.69. Total debt is $210,113.51. In other words, Debtor has enjoyed a property for 16 years

 without paying the mortgage.

          9.      The judicial sale process, after several orders for lift of stay in favor of BPPR in

 previous cases, with the intention of foreclosing in rem, have been repetitively blocked by Debtor,

 with the filing of new bankruptcy petitions. It is time, not only to deny the continuance of the stay,

 but to dismiss this 9th petition, and to bar Debtor from filing new petitions in an 18-month period.

                                   III. The Code and the Jurisprudence

 Dismissal with Prejudice (Bad Faith)

          10.    The power of the Court to dismiss a case with prejudice is deeply rooted in Section

 105(a), interpreted in conjunction with Section 349(a) of the Code, 11 USCS §§ 105 (a) and 349 (a).

 Section 105 (a), supra, states:

          “(a) The court may issue any order, process, or judgment that is necessary or appropriate
          to carry out the provisions of this title. No provision of this title providing for the raising
          of an issue by a party in interest shall be construed to preclude the court from, sua sponte,
          taking any action or making any determination necessary or appropriate to enforce or
          implement court orders or rules, or to prevent an abuse of process.”

        11.     On the other hand Section 349 (a), supra, states as follows:

          “(a) Unless the court, for cause, order otherwise, the dismissal of a case under this title
          does not bar the discharge, in a later case under this title, of debts that were dischargeable
          in the case dismissed; nor does the dismissal of a case under this title prejudice the debtor
          with regard to the filing of a subsequent petition under this title, except as provided in
          section 109 (g) of this title.”

        12.       “Courts have routinely found bad faith and dismissed cases in circumstances where

 debtors have filed to purposely delay a creditor’s inevitable recovery of its property.” In re On the

 Ocean, Inc., 2016 WL 8539791, at 2. The Court, in the case of In re Hamer, 2000 U.S. Dist. LEXIS
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 12341, 244 B.R. 589 (E.D. Pa. 2000), reconciling the provisions of Sections 105 (a) and 349 (a),

 supra, expressed:

          “Section 349(a) of the Bankruptcy Code provides that a case may be dismissed with
          prejudice where cause exists… Together, therefore, §§ 105(a) and 349(a) enable the
          bankruptcy court to restrict a debtor’s ability to file subsequent petitions.”

         13.      In a case similar to the captioned case, Javens vs. Ruskin, 2000 U.S. Dist. LEXIS

 13017 (E.D. Mich. 2000), the Court ruled that the bankruptcy court has authority and did not abuse

 its discretion in dismissing a Chapter 13 case with bar to refilling for 18 months.

          “This Court […] concludes that the Bankruptcy Court had the authority to bar future
          filings in excess of 180 days…”. In re Casse, supra, 219 B.R. 657 (Bankr. E.D.N.Y.
          1998). [I]n all circuits but the Tenth, bankruptcy courts and district courts invariably
          derive from § 105 (a) or § 349 (a) of the Code, or from both section in some cases,
          the power to sanction bad-faith serial filers such as the Casse and prohibiting further
          bankruptcy filings for longer periods of time that the 180 days specified by § 109
          (g)… We take this opportunity to ally ourselves with the Fourth Circuit [Colonial
          Auto Center v. Tomlin (In re Tomlin), 105 F.3d 933 (4th Cir. 1997)] and the great
          majority of lower courts which derive from §§ 105(a) and 349(a) of the Code, the
          bankruptcy court’s power, in an appropriate case, to prohibit a serial filer from filing
          petitions for periods of time exceeding 180 days. We join those courts in concluding
          that § 109(g) does not impose a temporal limitation upon those other section…”
          [T]he qualifying phrase in § 349(a) applies both to the clause preceding the semi-colon
          and the clause following the semi-colon…. This reading of § 349 means that a debtor
          may be prejudiced from filing subsequent bankruptcy petitions under two
          circumstances: (1) if the court, for cause, so orders, or (2) if the terms of § 109(g)
          apply to the debtors’ case”.

          14.     The facts of this case clearly indicate that we are in the presence of a repeating bad

 faith filer, who has, somehow, managed to file his 9th voluntary petition, while the last 3 petitions

 were filed just hours before the scheduled foreclosure sale. All circuits have recognized that bad

 faith is ground enough for dismissal of a bankruptcy petition. 1


 1 See In re SGL Carbon Corp., 200 F.3d 154, 160 (3d Cir. 1999); Marsch v. Marsch, 36 F.3d 825, 828 (9th Cir.
 1994); In re Winslow, 123 B.R. 641, 646-47 (10th Cir. 1991); First Nat’l Bank of Sioux City v. Kerr (In re Kerr),
 908 F.2d 400, 404 (8th Cir. 1990); Little Creek Dev. Co. v. Commonwealth Mortgage, 779 F.2d 1068, 1072
 (5th Cir. 1986); In re Madison Hotel Assocs., 749 F.2d 410, 426 (7th Cir. 1984); Connell v. Coastal Cable TV,
 709 F.2d 762, 765 (1st Cir. 1983); see also C-TC 9th Ave. P’ship. v. Norton Co., 113 F.3d 1304, 1310 (2d Cir.
 1997) (stating that implicit good faith standard is required for bankruptcy petitions because it “furthers the
 balancing process between the interests of debtors and creditors.”); Carolin Corp. v. Miller, 886 F.2d 693, 699
 (4th Cir. 1989) (“a generalized good faith requirement appears implicit in § 1112(b).”); Phoenix Picadilly Ltd.
 v. Life Ins. Co., 849 F.2d 1393, 1394 (11th Cir. 1988) (“A case under Chapter 11 may be dismissed for cause
 pursuant to section 1112 of the Bankruptcy Code if the petition was not filed in good faith.”).
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          15.    Section 1112(b)(4) of the Bankruptcy Code provides a non-exhaustive list of “cause”

 to dismiss a bankruptcy case. In re Little Creek Dev. Co., 779 F.2d 1068, 1072-73 (5th Cir. 1986). A

 case is not filed in good faith unless it has a valid bankruptcy purpose. In re SGL Carbon Corp., 200

 F.3d 154, 165 (3d Cir. 1999). If a petition is filed with the clear intention to obtain a tactical litigation

 advantage, it should be dismissed. In re 15375 Mem’l Corp., 589 F.3d 605, 618 (3d Cir. 2009).

          16.    Although there is no specific test for determining whether a debtor has filed a

 petition in bad faith, courts consider factors which evidence “intent to abuse the judicial process and

 the purposes of the reorganization provisions” or factors showing, as in the instant case, that the

 petition was filed to frustrate the legitimate efforts of secured creditors to enforce their rights. See

 Matter of Nw. Place, Ltd., 73 B.R. 978, 982 (Bankr. N.D. Ga. 1987).

          17.    It is precisely these bad faith practices that Congress intended to prevent with the

 amendments enacted in the Bankruptcy Abuse Prevention and Consumer Protection Act of

 2005. Section 362 (c) (3) (C) (I) of the Code, 11 U.S.C § 362 (c) (3) (C) (I) establishes that a case is

 presumptively filed not in “good faith” as to all creditors if a previous case under any of chapters 7,

 11 and 13 -in which the individual was debtor- was pending within the preceding one year period.

 That is the case in the instant bankruptcy petition. 18. While Section 362 (c) (3) (C) (II) (cc) of the

 Code also rises a bad faith presumption if, as in this case, a previous case in which the individual was

 debtor, was dismissed within the preceding one (1) year period after the debtor failed to perform the

 terms of a confirmed plan.

          18.    In other matters, the Debtor filed at Docket 12, a motion for the continuation of the

 automatic stay. The Court granted 14 days to file an objection to the continuation of the stay. For

 what’s been above stated in this motion, BPPR objects to the continuation of the stay.

          19.    Included is a Verified Statement Verified Statement regarding the information

 required by the Service Member Civil Relief Act of 2003 and a Department of Defense Manpower

 Data Center Military Status Report.
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          WHEREFORE, BPPR opposes the continuation of the automatic stay filed at Docket 12,

 and requests from this Court the dismissal of the instant case with bar to refile for 18 months. The

 undersigned attorney informs that he will be out of the jurisdiction from June 2 to June 12, 2023,

 and from June 19 to June 23, 2023.

                                                 NOTICE
 Within thirty (30) days after service as evidenced by the certification, and an additional three (3) days
 pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom this paper
 has been served, or any other party to the action who objects to the relief sought herein, shall serve
 and file an objection or other appropriate response to this paper with the Clerk’s office of the U.S.
 Bankruptcy Court for the District of Puerto Rico. If no objection or other response is filed within
 the time allowed herein, the paper will be deemed unopposed and may be granted unless: (i) the
 requested relief is forbidden by law; (ii) the requested relief is against public policy; or (iii) in the
 opinion of the Court, the interest of justice requires otherwise.

                  CERTIFICATE OF ELECTRONIC FILING AND SERVICE
 I hereby certify that on this date copy of this motion has been electronically filed with the Clerk of
 the Court using the CM/ECF system which will sent notification of such filing to debtor(s) attorney
 and to MONSITA LECAROZ ARRIBAS, US Chapter 11 Trustee, and also certify that I have
 mailed by United State Postal Service copy of this motion to non CM/ECF participant at their
 address of record in this case.

 RESPECTFULLY SUBMITTED.

          In San Juan, Puerto Rico, on the 23rd day of May, 2023.

                                                 COLÓN SANTANA & ASOCIADOS, CSP
                                                 Attorney for Banco Popular de Puerto Rico
                                                 315 Coll & Toste, San Juan, PR 00918
                                                 Tel: 787-763-4111/Fax: 787-766-1289

                                                 s/ Kevin Miguel Rivera Medina
                                                 USDC-PR No. 223914
                                                 e-mail: kmrquiebras@gmail.com
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                           ESTADO LIBRE ASOCIADO DE PUERTO RICO
                              TRIBUNAL DE PRIMERA INSTANCIA
                               CENTRO JUDICIAL DE BAYAM6N
                                      SALA SUPERIOR


        BANCO POPULAR DE PUERTO RICO                   CIVIL NOM. DCD2013-2003
                 Demandante                            SALA: 502

                          VS.
                                                       SOBRE:
     ALEXIS RAMIREZ ROSADO T/C/C ALEXIS
     RAMIREZ, SU ESPOSA ELSIE E. BERRIOS EJECUCION DE HIPOTECA
     SALGADO T/C/C ELSIE ENID BERRIOS IN REM
     SALGADO Y COMO ELSIE E. BERRIOS;
     GOBIERNO DE LOS ESTADOS UNIDOS DE
     AMERICA
                     Demandados

                                         EDICTO DE SUBASTA

    ESTADOS UNIDOS DE AMERICA
    EL PRESIDENTE DE LOS ESTADOS UNIDOS                                SS
    EL ESTADO LIBRE ASOCIADO DE PUERTO RICO

    A: ALEXIS RAMIREZ ROSADO T/C/C ALEXIS RAMIREZ, SU ESPOSA ELSIE E. BERRIOS
       SALGADO T/C/C ELSIE ENID BERRIOS SALGADO Y COMO ELSIE E. BERRIOS Y LA
       SOCIEDAD LEGAL DE GANANC1ALES COMPUESTA POR AMBOS; HECTOR NAZARIO
       CORTES, SU ESPOSA ANA LOPEZ RODRIGUEZ Y LA SOCIEDAD LEGAL DE
       GANANCIALES COMPUESTA POR AMBOS; GLENDA ROSE NAZARIO LOPEZ, SU
        ESPOSO LUIS CRUZ MALDONADO Y LA SOCIEDAD LEGAL DE GANANCIALES
       COMPUESTA POR AMBOS; ESTADOS UNIDOS DE NORTE AMERICA P/C FISCALIA
        FEDERAL; DEPARTAMENTO DE HACIENDA DE PUERTO RICO POR CUALQUIER
        CONTRIBUCION ADEUDADA Y AL PUBLICO EN GENERAL:
            CERTIFICO Y HAGO CONSTAR: Que en cumplimiento de un Mandamiento de
    Ejecución de Sentencia que me ha sido dirigido por el Secretario del Tribunal de Primera
    Instancia, Sala Superior de Bayamón, en el caso de epigrafe, venclere en ptablica subasta y at
    mejor postor, por separado, de contado y por moneda de curso legal de los Estados Unidos de
    America, en mi oficina site en el Edificio del Tribunal de Primera Instancia, Sala Superior de
    Bayamón, at dia 29 de junio de 2022, a las                 10:45 de la mariana , todo titulo,
    derecho, participación y/o interés qua le corresponda o puede corresponderle a la parte
    demandada y/o cualquiera de ells en el inmueble hipotecado objeto de ejecucián que se describe
    a continuación:

           URBANA: Solar radicado en la URBANIZACION SANTA ROSA, situada en at Barrio
           Juan Sanchez de Bayamón, Puerto Rico, qua se describe en el piano de inscripcion de la
           urbanización, con el area y colindancias que se relacionan a continuacion: Nümero del
           solar diecisite (17) de la Manzana "A" veintiocho (A28), con el area del solar de
           TRESCIENTOS QUINCE PUNTO CERO CERO (315.00 M/C) METROS CUADRADOS.
           En lindes: por el NORTE, con el solar nOmero dieciocho (18), distancia de veintiuno punt°
           cero cero (21.00) metros; por el SUR, con at solar nCimero dieciséis (16), distancia de
           veintiuno punto cero cero (21.00) metros: por el ESTE, con el solar nCimero diez (10),
           distancia de quince punt° cero cero (15.00) metros; y por el OESTE, con la calle numero
           trece (13), distancia de quince punto cero (15.00) metros. Contiene una case de concreto
           pare una                                                                  -------------- -----

           Finca 18,849, inscrita al Folio 246 del Tomo 416 de Bayamón, Registro de
           Bayamón, Sección I.
                                  DIRECCION: URB SANTA ROSA
                                             28-17 Bayamón PR 00956
           Se establece como tipo minim° para la primera subasta la suma de $91,258.00.
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           De ser necesaria una segunda subasta par declararse desierta la primera, la misma se
    celebrará en mi oficina, sita en el Tribunal de Primera Instancia, Sala Superior de Bayamón, el
    dila 6 de lulio         de 2022, a las         10:45 de la matiana y se establece coma tipo
    minima para dicha segunda subasta la suma de $60,838.66, equivalente a 2/3 partes del tipo
    minima establecido para la primera.

             De no adjudicarse la propiedad en esa segunda subasta, se celebrará una tercera subasta
    en m, i oficip4 L sita en el Tribunal de Primera Instancia, Sala Superior de
                                                                                  Bayamón, el dia 13
    de Ha  i rb     e     2022,   a las
    pat& dicha tercera subasta la suma de
                                             10:45  de   la mariana
                                                  $45,629.00,
                                                                      , y se
                                                                equivalente
                                                                             establece
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                                                                                       coma tipo mini m
                                                                                        del tip° minima
    establecido para la primera subasta.

            Dicha subasta se Ilevará a cabo para con su product° satisfácer a la parte demandante el
    importe de la Sentencia dictada a su favor ascendente a la suma de $79,064.01 de principal, más
    los intereses devengados a razón de 7.50% anual desde el dia Ira de abril de 2007, haste su
    total y completo page; cargos par demora de todos aquellos pagos con atrasos en exceso de la
    fecha de vencimiento hasta el total y complete repago de la deuda; los cráditos accesorios y
    adelantos hechos en virtud de la escritura de hipoteca; más las costas, gastos y honorarios de
    abogado del demandante sag& pactados en el pagará y en at contrato de hipoteca y
    cualesquiera otros adelantos para el pago de contribuciones y pólizas de seguro hechos par la
    demandante.

           Se notifica a todos los interesados que todas las actas y dernás canstancias del
    expediente de este caso están disponibles en la Secretaria del Tribunal durante las hares
    laborables para ser examinadas.

           Se entiende que todo licitador acepta coma bastante la titularidad quo da base a la misma.

       • La susodicha y enta en pUblica subasta, se verificard libre de toda carga o gravamen quo
    afecte dicha propiedad con rango posterior al gravamen aqui ejecutado. A su vez cualquier
    gravamen preferente at crédito quo da base a esta ejecución continuara subsistente,
    entendiéndose que el adjudicatario en la subasta lo acepta y queda subrogado en la
    responsabilidad de su page.
             Y para conocimiento de la parte demandada, de todas aquellas personas que tengan
    inter& inscrito con posterioridad a la inscripción del gravamen objeto de ejecucian, de todas los
    li citadores y del public() en general, expido el presente Edict° de Subasta para su publicacion dos
    (2) veces par espacio de dos (2) semanas consecutivas con un interval° de por lo menos siete (7)
    dias entre ambas publicaciones en un diario de circulación general en Puerto Rico, asi coma para
    su publicación par espacio de dos (2) semanas en tres (3) sitios püblicos del Municipio de
                                                                                                       de
    Bayamón, Puerto Rico, expedido el mismo en Bayamón, Puerto Rico, hay dia
     MAY 31 2022 de 2022.-




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                                                       SALA SUPERIOR DE BAYAMON

    FRAU & ASOCIADOS                                   JOSÉ'
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    •TELS. (787) 984-3013 1843-3404
    FAX: (787) 843-3431
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                                                                                     EXHIBIT B

                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF PUERTO RICO

 IN THE MATTER OF:
                                                           CASE NO. 23-01428 MCF
 ALEXIS RAMIREZ ROSADO &
 ELSIE ENID BERRIOS SALGADO                                CHAPTER 13
   Debtor(s)


                                     VERIFIED STATEMENT

         I, Kevin Miguel Rivera-Medina, of legal age, Attorney for Banco Popular Puerto Rico and

 resident of San Juan, Puerto Rico, declare under penalty of perjury as follows:

         That as to this date, by a search and review of the records kept by BANCO POPULAR

 PUERTO RICO - MORTGAGE DIVISION in the regular course of business in regard to debtor(s)

 account with this bank there is no information that will lead the undersign to belief that debtor(s)

 is(are) a regular service member(s) either on active duty or under a call to active duty, in the

 National Guard or as a Commission Officer of the Public Health Services or the National Oceanic

 and Atmospheric Administration (NOAA) in active duty.

         The bank has not received any written notice from debtor(s) that his military status has

 change as to this date.

         That as part of my search I examined the documents and records available to me within our

 computer system.

         I hereby certify the aforementioned statements under penalty of perjury, in San Juan, Puerto

 Rico, this 23rd day of May, 2023.
    Case:23-01428-MCF11 Doc#:20 Filed:05/23/23 Entered:05/23/23 17:46:30 Desc: Main
Department of Defense Manpower Data Center
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                                                                                                                                                                                         SCRA 5.16




SSN:                          XXX-XX-0655
Birth Date:
Last Name:                    RAMIREZ ROSADO
First Name:                   ALEXIS
Middle Name:
Status As Of:                 May-23-2023
Certificate ID:               SK7WR2CYGCP12N5

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
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                                                        Document
The Defense Manpower Data Center (DMDC) is an organization                  Page
                                                              of the Department         16 of (DoD)
                                                                                    of Defense    18 that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. § 3901 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q35) via this URL: https://scra.dmdc.osd.mil/scra/#/faqs. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. § 3921(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC § 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC § 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC § 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
    Case:23-01428-MCF11 Doc#:20 Filed:05/23/23 Entered:05/23/23 17:46:30 Desc: Main
Department of Defense Manpower Data Center
                                 Document  Page 17 of 18               Results as of : May-23-2023 02:39:17 PM

                                                                                                                                                                                         SCRA 5.16




SSN:                          XXX-XX-5275
Birth Date:
Last Name:                    BERRIOS SALGADO
First Name:                   ELSIE
Middle Name:                  ENID
Status As Of:                 May-23-2023
Certificate ID:               MY67P2S57N9KXW1

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

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